                 Case 1:13-cv-00547-CM-AJP Document 71                             Filed 11/08/13 Page 1 of 1
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     VIAECF

     Honorable Andrew J. Peck
     Southern District ofNew York
     United States Courthouse
     500 Pearl St.
     New York, NY 10007-1312



           Re:            GPIF-1 Equity Co., Ltd., et al. v. HDG Mansur Investment Services, Inc., et al.,
                          Case No. 13 Civ. 547 (CM)

     Dear Judge Peck:

         On behalf of the Defendants in the above-captioned action, we write as a follow-up to our
     November 1, 2013 discovery conference in which the Court ordered the parties to engage in
     good faith discussions to resolve their outstanding disputes regarding their privilege logs. Per
     the Court's request, the parties had a series of good-faith conversations this week and were able
     to resolve successfully all outstanding issues but one: whether Jeffrey Haroldson's
     communications with Plaintiffs can be withheld on privilege grounds from Defendants during the
     time period in which both parties contemporaneously recognized he was employed by
     Defendants (and during which Plaintiffs will contend he provided legal services to Plaintiffs).

         We respectfully request guidance from the Court with respect to how to proceed and would
     like to resolve this issue using whichever procedure that the Court prefers (i.e., brief
     teleconference, submission of a short letter with each party limited to two pages, etc.). We very
     much appreciate the Court's assistance with this matter.

  MEMO ENDORSED uh1/f3,
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     cc: All Counsel of Record (via ECF)                             n         /lc~~
                                Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C.
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